           Case 1:17-cr-00188-JLT-SKO Document 93 Filed 05/22/18 Page 1 of 2


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 8
                         UNITED STATES DISTRICT COURT
 9
                                 EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                          Case No. 1:17-cr-00188-LJO-SKO

12                  Plaintiff,                          ORDER DENYING DEFENDANT’S
                                                        MOTION TO MODIFY CONDITIONS OF
13           v.                                         RELEASE

14   WILLIAM JAMES FARBER,                              (ECF No. 88)

15                  Defendant.

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17          Defendant William James Farber filed a motion to modify his conditions of release on

18 May 8, 2018. (ECF No. 88.) On May 21, 2018, a hearing was held on Defendants’ motion.

19 (ECF No. 91.) Counsel Grant Rabenn appeared for the Government and counsel Richard Kaplan
20 appeared with Defendant. (Id.)

21          Defendant seeks to strike the condition that he be subject to the Location Monitoring

22 program and that he abide by all requirements of the program. Defendant contends that since his

23 release on August 28, 2017, he has remained in compliance and has not had any violations.

24 Therefore, he argues that the conditions imposed are overly restrictive and not necessary.

25          Defendant has presented no new information to change the determination that the

26 conditions of release that are currently imposed are the least restrictive conditions to reasonably
27 assure his appearance as required and the safety of any other person and/or the community. 18

28 U.S.C. § 3142(c)(1)(B). Having considered the moving papers and the argument and evidence


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              Case 1:17-cr-00188-JLT-SKO Document 93 Filed 05/22/18 Page 2 of 2


 1 presented in support of the motion, the Court finds that the current conditions imposed are the

 2 least restrictive conditions of release. The Court, in releasing a defendant, is to impose the least

 3 restrictive conditions1 and since no appeal was sought of the judge’s decision of release in this

 4 case, it is presumed that the conditions imposed were, and are still, the least restrictive.

 5             Further, the defendant offered insufficient conditions as to why his conditions should be

 6 reduced and how his changed or increased work schedule could not work within the confines or

 7 his presently imposed conditions.

 8             Therefore, for these reasons the Defendant’s motion to modify the conditions of release,

 9 filed May 8, 2018, is HEREBY DENIED.

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     IT IS SO ORDERED.
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12 Dated:         May 21, 2018
                                                           UNITED STATES MAGISTRATE JUDGE
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         18 U.S.C. § 3142(c)(B).


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